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Attorney for Plaintiff


                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF ALASKA

WANDA SEVERSON,

                         Plaintiff,

vs.                                                  Case No. 3:12-CV-00025-SLG

UNITED STATES OF AMERICA,

                         Defendant.

   STIPULATION TO DISMISS THE ALASKA NATIVE MEDICAL CENTER
                        AS A DEFENDANT

       Plaintiff, Wanda Severson, through undersigned counsel, pursuant to Federal Rule

of Civil Procedure 41(a)(1), and defendant, United States of America, through

undersigned counsel, stipulate to dismiss the Alaska Native Medical Center as a named

defendant in this case.

       The parties stipulate that no costs or fees shall be assessed in connection with this

stipulated dismissal.

                                           LAW OFFICE OF CHRISTINE SCHLEUSS

DATED: June 1, 2012                        /s/ Christine Schleuss
                                           Attorney for Plaintiff


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                                           KAREN L. LOEFFLER
                                           United States Attorney


DATED: June 1, 2012                        /s/ Gary M. Guarino
                                           Assistant U.S. Attorney
                                           Attorney for Defendant



CERTIFICATE OF SERVICE

I hereby certify that on June 1, 2012,
a true copy of the foregoing
STIPULATION TO DISMISS
was served via electronic service on:

Gary M. Guarino @ gary.guarino@usdoj.gov

/s/ Christine Schleuss




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